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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
                                               No. 16-CR-167 (LAP)
-against-
                                               No. 19-CV-4112 (LAP)
TYRONE MOORE,
                                                       ORDER
                      Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

     The Government’s opposition to Mr. Moore’s 28 U.S.C. § 2255

petition [dkt. no. 349 in 16-CR-167] shall be mailed to Mr.

Moore with service noted on the docket.          Mr. Moore shall file

any reply within thirty days of service.

SO ORDERED.

Dated:       November 2, 2020
             New York, New York


                              __________________________________
                              LORETTA A. PRESKA
                              Senior United States District Judge




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